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                                                    14
                                                         Attorneys for Plaintiff
                                                    15   Magdalena Mollmann p/k/a Maggie Stephenson
                                                    16                       UNITED STATES DISTRICT COURT
                                                    17                      CENTRAL DISTRICT OF CALIFORNIA

                                                    18   MAGDALENA MOLLMANN p/k/a               )   Case No.: 2:22-CV-4128
                                                         MAGGIE STEPHENSON,                     )
                                                    19                                          )   COMPLAINT FOR:
                                                                        Plaintiff,              )
                                                    20                                          )   (1) COPYRIGHT
                                                               vs.                              )   INFRINGEMENT;
                                                    21                                          )
                                                         ZOETOP BUSINESS CO., LTD. d/b/a        )   (2) VICARIOUS AND/OR
                                                    22   “SHEIN;” and SHEIN                     )   CONTRIBUTORY COPYRIGHT
                                                         DISTRIBUTION CORPORATION,              )   INFRINGEMENT;
                                                    23                                          )
                                                                        Defendant.              )   (3) REMOVAL OF COPYRIGHT
                                                    24                                          )   MANAGEMENT INFORMATION
                                                                                                )   [17 U.S.C. § 1202(A)]; AND
                                                    25                                          )
                                                                                                )   (4) FALSE COPYRIGHT
                                                    26                                          )   MANAGEMENT INFORMATION
                                                                                                )   [17 U.S.C. § 1202(B)]
                                                    27                                          )
                                                                                                )   JURY TRIAL DEMANDED
                                                    28                                          )
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                                                                                            COMPLAINT
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                                                    1          Plaintiff Magdalena Mollmann p/k/a Maggie Stephenson (“Plaintiff”), by and
                                                    2    through her undersigned attorneys, alleges as follows:
                                                    3                               NATURE OF THE ACTION
                                                    4          1.     This is an action for copyright infringement and violations of the Digital
                                                    5    Millennium Copyright Act (“DMCA”) against Zoetop Business Co., Ltd. d/b/a
                                                    6    “SHEIN”, and SHEIN Distribution Corporation (each a “Defendant,” and collectively
                                                    7    “Defendants”), collectively a multi-billion dollar Chinese fast-fashion enterprise
                                                    8    operating in California. Defendants’ notorious and well-documented business
                                                    9    practices are predicated upon willfully violating the rights and interests of
                                                    10   independent artists and designers who create original works entitled to protection
                                                    11   under federal copyright law.
                                                    12         2.     Defendants’ predatory business model consists of, in part, selling stolen
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                                                    13   artwork and then, when confronted with the theft, either ignoring the victims or
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                                                    14   paying them a fraction of what they are entitled to under the law. Fully aware of the
                                                    15   leverage Defendants have over their victims, due to the artists’ lack of resources to
                                                    16   obtain legal representation, Defendants continue to steal from artists without any
                                                    17   remorse for their unethical and illegal conduct.
                                                    18         3.     Plaintiff seeks injunctive relief, monetary damages in excess of
                                                    19   $100,000,000, costs and attorneys’ fees due to Defendants’ willful infringement of
                                                    20   Plaintiff’s copyrighted artworks and Defendants’ unlawful alteration/falsification of
                                                    21   related copyright management information in direct violation of sections 101 and
                                                    22   1202 of the Copyright Act.
                                                    23                                      THE PARTIES
                                                    24         4.     Plaintiff is an individual residing in Jacksonville, Florida.
                                                    25         5.     Defendant Zoetop Business Co. Limited d/b/a “SHEIN” (“ZOETOP”) is
                                                    26   a limited company of Hong Kong having places of business at least at 345 Baldwin
                                                    27   Park Blvd., City of Industry, CA 91746-1406, Room 11-12, 2/F, Hong Leong Plaza
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                                                                                             COMPLAINT
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                                                    1    (Phase 1), No. 33 Lok Yip Road, Fanling Hong Kong, and Datang Town Sanshui
                                                    2    Industrial Park, Fo Shan, Guangdong 528100, China.
                                                    3           6.      Defendant SHEIN Distribution Corporation (“SHEIN”) is a Delaware
                                                    4    Corporation having its principal place of business at 345 N. Baldwin Park Blvd., City
                                                    5    of Industry, CA 91746.
                                                    6           7.      Plaintiff is informed and believes and thereon alleges that at all times
                                                    7    relevant hereto each of the Defendants was the agent, affiliate, officer, director,
                                                    8    manager, principal, alter-ego, and/or employee of the remaining Defendants and was
                                                    9    at all times acting within the scope of such agency, affiliation, alter-ego relationship
                                                    10   and/or employment; and actively participated in or subsequently ratified and/or
                                                    11   adopted each of the acts or conduct alleged, with full knowledge of all the facts and
                                                    12   circumstances, including, but not limited to, full knowledge of each violation of
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                                                    13   Plaintiff’s rights and the damages to Plaintiff proximately caused thereby.
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                                                    14                              JURISDICTION AND VENUE
                                                    15          8.      This action arises under the Copyright Act, 17 U.S.C. §§ 101, et seq. and
                                                    16   1201 et seq.
                                                    17          9.      This Court has federal question subject matter jurisdiction pursuant to
                                                    18   28 U.S.C. §§ 1331 and 1338(a).
                                                    19          10.     This Court has personal jurisdiction over ZOETOP and SHEIN because
                                                    20   each such Defendant (a) maintains, operates and/or transacts business through, a
                                                    21   principal place of business in City of Industry, California, and (b) conducts
                                                    22   continuous and systematic business in California, including in the Central District of
                                                    23   California. The effect of Defendants’ actions arises in multiple districts, and a
                                                    24   substantial portion of the events giving rise to the claims herein occurred within this
                                                    25   District.
                                                    26          11.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 and 1400(a)
                                                    27   because the acts of infringement complained of herein occurred in this District,
                                                    28   Defendants are domiciled in this District, Defendants’ office and agent can be found
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                                                                                              COMPLAINT
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                                                    1    in this District, Defendants’ unlawful actions were directed from or through
                                                    2    computers in this District, and Plaintiff has been harmed in this District.
                                                    3           12.    Defendants are estopped from contesting personal jurisdiction or venue
                                                    4    in this action because Defendants have consented to personal jurisdiction and venue
                                                    5    in similar copyright infringement actions filed by other aggrieved parties in this
                                                    6    District. See e.g., Cat Coven LLC v. Shein Fashion Group, 2020 U.S. Dist. LEXIS
                                                    7    123166, *15-16 (“Defendant argues that joinder [of Zoetop] would not destroy
                                                    8    subject matter jurisdiction . . .”).
                                                    9                                 FACTUAL BACKGROUND
                                                    10          Plaintiff’s Commercial Art Business
                                                    11          13.    Plaintiff is a popular independent artist and illustrator who makes a
                                                    12   living selling her original designs in the form of art prints and other original products
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                                                    13   under her eponymous brand name. Plaintiff is best known for her unique creative
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                                                    14   shape play illustrations, which combine rich textures and vivid colors. Plaintiff has
                                                    15   cultivated a loyal, enthusiastic social media fan base principally comprised of more
                                                    16   than 112,000 Instagram followers.
                                                    17          14.    Plaintiff’s artwork can be seen in Sephora stores, Net-a-Porter’s Porter
                                                    18   Magazine, Natural Products Insider magazine, and on various consumer products
                                                    19   from jigsaw puzzles to wine bottles.
                                                    20          15.    Plaintiff displays, markets and promotes her original creative designs on
                                                    21   her commercial website (www.maggiestephenson.com) (“Plaintiff’s Website”) and
                                                    22   the following commercial social media pages:
                                                    23                 Instagram.com/_maggiestephenson;
                                                    24                 Pinterest.com/maggiestephensonillustration;
                                                    25                 facebook.com/maggiestephensonart;
                                                    26                 behance.net/maggiestephenson; and
                                                    27                 twitter.com/mstephensonillu
                                                    28   (“Plaintiff’s Social Media Accounts”).
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                                                                                                COMPLAINT
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                                                    1          16.    Plaintiff authorizes a select number of reputable, established e-
                                                    2    commerce platforms, including Society6, Urban Outfitters and Jungalow
                                                    3    (collectively, the “Authorized Platforms”), to sell high-quality framed and unframed
                                                    4    prints of her original creations.
                                                    5          The Subject Original Art Work
                                                    6          17.    The illustration depicted below, entitled “One is good, more is better,”
                                                    7    is an original work of art created exclusively by Plaintiff (the “Original Art Work”):
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                                                    24         18.    As the sole author and creator, Plaintiff is the exclusive owner of all
                                                    25   rights and interests in and to the Original Art Work, including all rights granted to
                                                    26   authors of original works of art under common law and the Copyright Act of 1976,
                                                    27   17 U.S.C. § 101 et seq.
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                                                                                             COMPLAINT
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                                                    1          19.    Plaintiff registered the Original Art Work with the United States
                                                    2    Copyright Office. A copy of the registration certificate issued by the Copyright Office
                                                    3    dated October 14, 2021, registration no. VA 2-272-522, is attached hereto as Exhibit
                                                    4    A.
                                                    5          20.    Images of the Original Art Work and derivative works thereof have been
                                                    6    publicly displayed and widely disseminated since April 2019 on Plaintiff’s Website,
                                                    7    Plaintiff’s Social Media Accounts and the Authorized Platforms. As a consequence,
                                                    8    images of the Original Art Work have, at all such times, been readily accessible to
                                                    9    and capable of being viewed globally by any person or entity with access to the
                                                    10   Internet.
                                                    11         21.    The Original Art Work is one of Plaintiff’s most popular, best-selling
                                                    12   original creative works. Plaintiff has sold high-quality framed and unframed prints of
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                                                    13   the Original Art Work via the Authorized Platforms since April 2019 at various price
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                                                    14   points ranging from $19.00 for the unframed 8x10 version to $300.00 for the framed
                                                    15   30x40 version.
                                                    16         22.    Plaintiff affixes numerous forms of copyright management information
                                                    17   (“CMI”)—including Plaintiff’s name and signature, date of creation, brand name,
                                                    18   logo, and social media handle, as shown above —on all authorized prints and copies
                                                    19   of the Original Art Work, derivative works thereof and related packaging. Plaintiff
                                                    20   also affixes CMI on the images of the Original Art Work and derivative works thereof
                                                    21   displayed on Plaintiff’s Website, Plaintiff’s Social Media Accounts and the
                                                    22   Authorized Platforms. Such CMI serves to identify Plaintiff as the author and
                                                    23   copyright owner of the Original Art Work and is intended to prevent third parties from
                                                    24   creating unauthorized copies of the Original Art Work.
                                                    25         Defendants’ “Fast-Fashion” Enterprise
                                                    26         23.    Defendants collectively own and operate a notorious “fast-fashion” e-
                                                    27   commerce enterprise that sells apparel, accessories, jewelry, tapestries and other
                                                    28   products under Defendants’ various proprietary brand names, including “SHEIN” and
                                                                                                6
                                                                                            COMPLAINT
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                                                    1    “ROMWE”, through Defendants’ websites, including www.shein.com (the “SHEIN
                                                    2    Website”), mobile applications and social media platforms.
                                                    3             24.   Pursuant to their “fast-fashion” business model, Defendants (a) identify
                                                    4    catwalk/high-fashion design trends, (b) mass produce low-cost, inferior “replicas” of
                                                    5    high-end, higher-quality designer goods created by others, and (c) rush to flood the
                                                    6    market with cheap, ersatz “designer” goods as the wave of consumer demand begins
                                                    7    to crest.
                                                    8             25.   Defendants’ predatory, opportunistic “fast-fashion” business practices
                                                    9    are inherently antagonistic to the intellectual property rights of third parties and,
                                                    10   consequently, Defendants have been named in scores of infringement and/or unfair
                                                    11   competition actions filed by major brands, famous designers, artists, illustrators and
                                                    12   others whose original creations Defendants have stolen. In this District alone, at least
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                                                    13   one of the Defendants named herein has been sued for infringement and/or unfair
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                                                    14   competition in over thirty (30) separate actions. Defendants also have been hit with
                                                    15   similar claims numerous times in other jurisdictions, including by major brands like
                                                    16   Levi’s, Ralph Lauren, and Deckers Outdoor Corp., which owns the UGG footwear
                                                    17   brand.
                                                    18            Defendants’ Modus Operandi
                                                    19            26.   Defendants’ modus operandi is on full display on Instagram. A search
                                                    20   of hashtags such as #sheintheft, #arttheft, and #boycottshein, brings up numerous
                                                    21   accounts of artists and other designers whose original artwork was stolen by
                                                    22   Defendants and sold for a fraction of the work’s true value. Their stories are the same:
                                                    23   they see their artwork being sold on the SHEIN or ROMWE websites without their
                                                    24   consent, they submit a copyright notification or contact the company, either the victim
                                                    25   doesn’t receive a response or Defendants blame the theft on a third-party vendor, and
                                                    26   some may receive a pittance in compensation.
                                                    27            27.   For example, Plaintiff is informed and believes and thereon alleges that
                                                    28   the Instagram account @terese_nothing describes in detail how SHEIN and ROMWE
                                                                                                 7
                                                                                             COMPLAINT
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                                                    1    stole her artwork nine times between 2019 and 2021. Shockingly, SHEIN and
                                                    2    ROMWE sold the exact same artwork on two occasions after being notified that the
                                                    3    products infringed the artist’s copyright. On one occasion, Defendants didn’t even
                                                    4    bother to remove the artist’s name from the artwork before selling it online.
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                                                    11            28.   Similarly, Plaintiff is informed and believes and thereon alleges that the
                                                    12   Instagram account @sasha.ignatiadou describes how in May 2019 SHEIN stole an
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                                                    13   illustration and sold it online without permission. After being notified of the
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                                                    14   infringement, SHEIN commented on the post, stating that the artwork was “supplied
                                                    15   by a new vendor who told us he designed them.” SHEIN’s third-party “defense”
                                                    16   strains credulity as the infringing artwork has the artist’s name printed directly on the
                                                    17   piece.
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                                                    14         29.    In November 2019, Plaintiff is informed and believes and thereon alleges
                                                    15   that the Instagram account @madelinekate_illustrates posted about her artwork being
                                                    16   stolen by SHEIN and ROMWE. Again, the company blamed “a vendor who assured
                                                    17   [it] that there weren’t any copyright issues.”
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                                                    24         30.   Recently, on or around May 17, 2022, Plaintiff is informed and believes
                                                    25   and thereon alleges that the Instagram account @shop.kikay complained that SHEIN
                                                    26   stole their earring design for the second time, after SHEIN, true to form, blamed a
                                                    27   vendor and assured the creator that the relationship with the vendor was terminated
                                                    28   and promised “to review the authorization of design more thoroughly before listing
                                                                                                11
                                                                                          COMPLAINT
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                                                    1    the products.” Less than a year after making this promise, SHEIN listed the same
                                                    2    product for sale on its website.
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                                                    26   Defendants’ Infringement Of The Original Art Work
                                                    27         31.    Similar, if not identical, to the above accounts of theft by Defendants,
                                                    28   Plaintiff is informed and believes and based thereon alleges that within the past three
                                                                                               12
                                                                                            COMPLAINT
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                                                    1    years, Defendants copied the original, copyright-protected elements of Plaintiff’s
                                                    2    Original Art Work without Plaintiff’s authorization and created therefrom one or
                                                    3    more art prints, copies of which Defendants then advertised, marketed and sold on the
                                                    4    SHEIN Website under the description “Abstract Pattern Wall Painting Without
                                                    5    Frame” (the “Infringing Work”).
                                                    6           As illustrated in the side-by-side comparison below, the artistic elements (i.e.,
                                                    7    the designs, renderings, illustrations, drawings, figures, objects, and the arrangements
                                                    8    and layouts thereof) and the color schemes, layouts and overall appearances of the
                                                    9    Infringing Work and the Original Art Work are virtually identical and strikingly
                                                    10   similar:
                                                    11                 Original Art Work                            Infringing Work
                                                    12
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                                                    25          32.    Based thereon and upon information and belief, Defendants have sold
                                                    26   low-quality copies of the Infringing work, the number of which currently is unknown
                                                    27   to Plaintiff, for as little as $4.00 per print.
                                                    28
                                                                                                   13
                                                                                                COMPLAINT
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                                                    1          33.    Defendants never attempted to contact Plaintiff to inquire about properly
                                                    2    licensing her work. Plaintiff is informed and believes and based thereon alleges that
                                                    3    Defendants simply copied the Original Art Work, created the Infringing Work and
                                                    4    sold copies thereof for a fraction of their value without regard for Plaintiff’s creative
                                                    5    rights and financial interests.
                                                    6          34.    Plaintiff is informed and believes and based thereon alleges that in the
                                                    7    process of unlawfully creating, copying, reproducing, distributing, adapting, and/or
                                                    8    publicly displaying the Infringing Work without the consent, permission or authority
                                                    9    of Plaintiff, Defendants intentionally removed Plaintiff’s CMI with the intent to
                                                    10   induce, enable, facilitate, or conceal their infringement of Plaintiff’s rights under the
                                                    11   Copyright Act.
                                                    12         35.    Plaintiff is informed and believes and based thereon alleges that
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                                                    13   Defendants unlawfully created and distributed copies of the Original Art Work with
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                                                    14   the knowledge and intent that Plaintiff’s CMI had been removed therefrom.
                                                    15         36.    Plaintiff is informed and believes and based thereon alleges that
                                                    16   Defendants also added false copyright management information to copies of its
                                                    17   Infringing Work and affixed the “SHEIN” name and logo to the packaging of the
                                                    18   Infringing Work. In doing so, Defendants not only falsely identify SHEIN as the
                                                    19   author and copyright owner of the original elements of the Infringing Work, but
                                                    20   Defendants also falsely imply that they are the author and copyright owner of the
                                                    21   Original Art Work.
                                                    22         37.    Plaintiff is informed and believes and based thereon alleges that
                                                    23   Defendants were, at all times relevant, aware that Plaintiff was the true author and
                                                    24   copyright owner of the Original Art Work, and Defendants thus knew that the
                                                    25   copyright management information that they affixed to copies of the Infringing Work
                                                    26   was false and misleading.
                                                    27         38.    Plaintiff is informed and believes and based thereon alleges that
                                                    28   Defendants affixed false copyright management information on or in connection with
                                                                                                14
                                                                                             COMPLAINT
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                                                    1    the Infringing Work to falsely convey the impression to consumers that SHEIN, rather
                                                    2    than Plaintiff, was the author and copyright owner of the artistic design elements
                                                    3    depicted in the Infringing Work. Defendants intended that by doing so, they would
                                                    4    facilitate the sale of the Infringing Product and conceal the fact that they were
                                                    5    infringing the Original Art Work.
                                                    6

                                                    7                               FIRST CLAIM FOR RELIEF
                                                    8                      Copyright Infringement - 17 U.S.C. § 501, et seq.
                                                    9                                  Against All Defendants
                                                    10          39.    Plaintiff repeats, realleges and hereby incorporates by reference the
                                                    11   allegations set forth in paragraphs 1 through 38, above, as though fully set forth
                                                    12   herein.
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                                                    13          40.    Plaintiff has complied in all respects with the copyright laws of the
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                                                    14   United States, 17 U.S.C. § 101 et seq., and has secured the exclusive rights and
                                                    15   privileged in and to the copyrights in the Original Art Work.
                                                    16          41.    As alleged herein above, the Original Art Work has been widely
                                                    17   disseminated and readily accessible since April 2019. Plaintiff is informed and
                                                    18   believes and based thereon alleges that between April 2019 and August 2021,
                                                    19   Defendants accessed the Original Art Work from Plaintiff’s Website, Plaintiff’s
                                                    20   Social Media Accounts and/or the Authorized Platforms and thereafter copied,
                                                    21   reproduced, distributed, adapted, and/or created derivative works of the Original Art
                                                    22   Work without the consent, permission or authority of Plaintiff.
                                                    23          42.    Defendants’ conduct as alleged herein constitutes infringement of
                                                    24   Plaintiff’s copyright and exclusive rights in violation of 17 U.S.C. §§ 106 and 501.
                                                    25          43.    Defendants’ acts of infringement as alleged herein have been willful,
                                                    26   intentional, purposeful, and/or in reckless disregard of and with indifference to
                                                    27   Plaintiff’s rights.
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                                                                                             COMPLAINT
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                                                    1          44.    As a consequence of Defendants’ acts of infringement as alleged herein,
                                                    2    Plaintiff has suffered and continues to suffer economic harm and thus is entitled to
                                                    3    recover the greater of Plaintiff’s actual damages or the amount of profits attributable
                                                    4    to Defendants’ infringing acts pursuant to 17 U.S.C. § 504.
                                                    5          45.    Plaintiff is informed and believes and based thereon alleges that
                                                    6    Defendants’ acts of infringement as alleged herein are continuing and will continue
                                                    7    in the future. Plaintiff has no adequate remedy at law to prevent Defendants from
                                                    8    continuing their infringement of the Original Art Work during the pendency of this
                                                    9    action or thereafter. Plaintiff therefore seeks and is entitled to an order enjoining and
                                                    10   restraining Defendants, during the pendency of this action and permanently thereafter,
                                                    11   from manufacturing, distributing, importing, exporting, marketing, displaying,
                                                    12   offering for sale, or selling copies or prints of the Infringing Work or any other
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                                                    13   products that are substantially similar to Original Art Work.
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                                                    14                            SECOND CLAIM FOR RELIEF
                                                    15                Vicarious and/or Contributory Copyright Infringement
                                                    16                                  Against All Defendants
                                                    17         46.    Plaintiff repeats, realleges and hereby incorporates by reference the
                                                    18   allegations set forth in paragraphs 1-38 and 40-45, above, as though fully set forth
                                                    19   herein.
                                                    20         47.    Plaintiff is informed and believes and thereon alleges that Defendants
                                                    21   knowingly induced, participated in, aided and abetted in and profited from the illegal
                                                    22   reproduction and/or subsequent sales of the Infringing Work as alleged herein.
                                                    23         48.    Plaintiff is informed and believes and thereon alleges that Defendants,
                                                    24   and each of them, are vicariously liable for the infringement alleged herein because
                                                    25   they had the right and ability to supervise the infringing conduct and because they
                                                    26   had a direct financial interest in the infringing conduct.
                                                    27         49.    By reason of the Defendants’ acts of contributory and vicarious
                                                    28   infringement as alleged herein, Plaintiff has suffered and will continue to suffer
                                                                                                16
                                                                                             COMPLAINT
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                                                    1    substantial damages to her business in an amount to be established at trial, as well as
                                                    2    additional general and special damages in an amount to be established at trial.
                                                    3          50.       Due to Defendants’ acts of copyright infringement as alleged herein,
                                                    4    Defendants, and each of them, have obtained direct and indirect profits they would
                                                    5    not otherwise have realized but for their infringement of the Original Art Work. As
                                                    6    such, Plaintiff is entitled to disgorgement of Defendants’ profits directly and
                                                    7    indirectly attributable to Defendants’ infringement of Plaintiff’s rights in the Original
                                                    8    Art Work, in an amount to be established at trial.
                                                    9                                THIRD CLAIM FOR RELIEF
                                                    10   Removal of Copyright Management Information - 17 U.S.C. § 1202(b) Against
                                                    11                                       All Defendants
                                                    12         51.       Plaintiff repeats, realleges and hereby incorporates by reference the
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                                                    13   allegations set forth in paragraphs 1-38, 40-45 and 47-50, above, as though fully set
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                                                    14   forth herein.
                                                    15         52.       The Original Art Work includes conspicuous copyright management
                                                    16   information including at least Plaintiff’s signature, which is conveyed in connection
                                                    17   with the Original Art Work and its packaging and is protected under 17 U.S.C. §
                                                    18   1202(b).
                                                    19         53.       Plaintiff further conveys such copyright management information in
                                                    20   connection with the Original Art Work on her website, Society6 storefront, social
                                                    21   media accounts, and third-party e-commerce websites.
                                                    22         54.       Upon information and belief, Defendant knowingly distributed the
                                                    23   Infringing Product, which features an identical copy of the Original Art Work from
                                                    24   which the copyright management information placed on authorized copies of the
                                                    25   Original Art Work and their packaging was intentionally removed.
                                                    26         55.       Upon information and belief, Defendant knowingly sourced, sold, and
                                                    27   distributed infringing products featuring identical copies of the Original Art Work
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                                                                                              COMPLAINT
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                                                    1    from which the copyright management information placed on authorized copies of
                                                    2    the Original Art Work and their packaging was intentionally removed.
                                                    3          56.    Upon information and belief, Defendant knowingly sold infringing
                                                    4    products featuring identical copies of the Original Art Work from which the copyright
                                                    5    management information was intentionally removed.
                                                    6          57.    Upon information and belief, Defendant knowingly distributed and
                                                    7    imported for distribution unauthorized copies of the Original Art Work from which
                                                    8    copyright management information had been intentionally removed.
                                                    9          58.    Upon information and belief, Defendant distributed the Infringing
                                                    10   Product with the knowledge that doing so would induce, enable, facilitate, or conceal
                                                    11   an infringement of Plaintiff’s rights under the Copyright Act, 17 U.S.C. § 101 et seq.
                                                    12         59.    Defendant engaged in these activities without the consent or
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                                                    13   authorization of Plaintiff.
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                                                    14         60.    Plaintiff has been injured and will continue to suffer injury as a result of
                                                    15   Defendants’ violations of 17 U.S.C. § 1202(b) and is entitled to injunctive relief,
                                                    16   impoundment of the Infringing Work, monetary damages, costs and attorneys’ fees
                                                    17   according to proof. Pursuant to 17 U.S.C. § 1203(c)(3), Plaintiff may also elect to
                                                    18   recover statutory damages of up to $25,000 for each violation of 17 U.S.C. § 1202(b).
                                                    19                             FOURTH CLAIM FOR RELIEF
                                                    20            False Copyright Management Information - 17 U.S.C. § 1202(a)
                                                    21                                  Against All Defendants
                                                    22         61.    Plaintiff repeats, realleges and hereby incorporates by reference the
                                                    23   allegations set forth in paragraphs 1-38, 40-45 and 47-50 and 52-60, above, as though
                                                    24   fully set forth herein.
                                                    25         62.    Upon information and belief, each Defendant, either separately or in
                                                    26   concert with each other, intentionally and knowingly provided false copyright
                                                    27   management information in connection with the Infringing Product. Specifically,
                                                    28   Defendants affixed the “SHEIN” name and logo to the packaging of the Infringing
                                                                                                18
                                                                                             COMPLAINT
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                                                    1    Product and intentionally removed Plaintiff’s copyright management information,
                                                    2    including at least Plaintiff’s signature.
                                                    3           63.   Upon information and belief, each Defendant, either separately or in
                                                    4    concert with each other, intentionally and knowingly imported for distribution and
                                                    5    distributed false copyright management information in connection with the Infringing
                                                    6    Product.
                                                    7           64.   Upon information and belief, each Defendant, either separately or in
                                                    8    concert with each other, knew that the copyright management information it conveyed
                                                    9    in connection with the Infringing Product was false because Defendants knew that
                                                    10   Plaintiff, and not Defendants, were the true author and copyright owner of the
                                                    11   Original Art Work.
                                                    12          65.   Upon information and belief, each Defendant, either separately or in
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                                                    13   concert with each other, knowingly provided such false copyright management
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                                                    14   information and distributed and imported such false copyright management
                                                    15   information in connection with the Infringing Product with the intent to induce,
                                                    16   enable, facilitate, or conceal an infringement of Plaintiff’s rights under the Copyright
                                                    17   Act.
                                                    18          66.   Defendants engaged in these activities without the consent or
                                                    19   authorization of Plaintiff.
                                                    20          67.   Plaintiff has been injured as a result of Defendants’ violation of 17
                                                    21   U.S.C. § 1202(a) and is entitled to injunctive relief, impounding of the Infringing
                                                    22   Product, damages, costs, and attorney’s fees. Plaintiff may also elect to recover
                                                    23   statutory damages pursuant to 17 U.S.C. § 1203(c)(3) of up to $25,000 for each
                                                    24   violation of 17 U.S.C. § 1202(a).
                                                    25          WHEREFORE, Plaintiff demands judgment as follows:
                                                    26          1.    For an order permanently restraining and enjoining Defendants from
                                                    27   copying, reproducing, distribution, adapting, and/or publicly displaying the Original
                                                    28   Art Work or any elements thereof;
                                                                                                 19
                                                                                              COMPLAINT
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                                                    1          2.     For an order requiring the destruction of all of Defendants’ infringing
                                                    2    products, including the Infringing Work and all marketing, advertising and/ or
                                                    3    promotional materials associated therewith;
                                                    4          3.     For an award of the amount equal to the greater of Plaintiff’s actual
                                                    5    damages or disgorgement of Defendants’ worldwide profits according to proof;
                                                    6          4.     For an award of $25,000 per violation of 17 U.S.C. § 1202(a), an order
                                                    7    requiring the impoundment of all existing copies of the Infringing Work under 17
                                                    8    U.S.C. § 1203, and an award of Plaintiff’s costs and attorneys’ fees under 17 U.S.C.
                                                    9    § 1203;
                                                    10         5.     For an award of $25,000 per violation of 17 U.S.C. § 1202(b), an order
                                                    11   requiring the impoundment of all existing copies of the Infringing Product under 17
                                                    12   U.S.C. § 1203, and an award of Plaintiff’s costs and attorneys’ fees under 17 U.S.C.
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                                                    13   § 1203;
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                                                    14         6.     For the costs of suit incurred herein;
                                                    15         7.     For interest, including prejudgment interest, on the foregoing sums; and
                                                    16         8.     For such other and further legal and equitable relief as the Court deems
                                                    17   just and proper.
                                                    18

                                                    19   Dated: June 15, 2022
                                                    20                                          HOLLAND & KNIGHT LLP
                                                    21                                          By: /s/ Danielle N. Garno
                                                                                                  Stacey H. Wang
                                                    22
                                                                                                  Danielle N. Garno
                                                    23                                            David R.Donoghue
                                                                                                  Ji Mao
                                                    24
                                                                                                  Attorneys for Plaintiff
                                                    25                                            Magdalena Mollmann p/k/a Maggie
                                                    26
                                                                                                  Stephenson

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                                                                                            COMPLAINT
